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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

-------------------------------x
QUINTESSA HUEY, Individually and on behalf
of All Others Similarly Situated,
                                                    Case No. 1:24-cv-01910-CM
                Plaintiff,

 -vs.-

ANAVEX LIFE SCIENCES CORPORATION
and CHRISTOPHER U. MISSLING,

           Defendants.
-------------------------------x

                   NOTICE OF DEFENDANTS’ MOTION TO DISMISS

         PLEASE TAKE NOTICE that, upon the accompanying Memorandum of Law in Support

of Defendants’ Motion to Dismiss, the Declaration of Stephen G. Topetzes and accompanying

exhibits, and all other papers and proceedings herein, Defendants Anavex Life Sciences

Corporation and Chistopher U. Missling (together “Defendants”) will move this Court, before the

Honorable Colleen McMahon, United States District Judge for the Southern District of New York,

on a date and time to be set by the Court, for an Order dismissing the Amended Complaint (Dkt.

No. 34) with prejudice pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure. The basis

for the motion is set forth in the accompanying memorandum of law.




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 Dated: August 23, 2024                    Respectfully submitted,


                                           /s/ Stephen G. Topetzes
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                                           Stephen G. Topetzes
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                                           Corporation and Christopher U. Missling




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